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     Attorney for: Thomas GARCIA
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 8
 9
               IN THE UNITED STATES DISTRICT COURT FOR THE
10
11
                        EASTERN DISTRICT OF CALIFORNIA

12
13
14   UNITED STATES OF AMERICA,             )       CR. No. CR-S 08-00392 GEB
                                           )
15
                        Plaintiff,         )       STIPULATION AND PROPOSED
16                                         )       ORDERTO CONTINUE CHANGE
17
                 v.                        )       OF PLEA
                                           )
18   Thomas GARCIA,                        )
19                                         )
                        Defendant.         )       Hon. Judge Garland E. Burrell
20
                                           )
21                                         )
22
           The defendant, Thomas Garcia, through his undersigned counsel, and the
23
24   United States, through its undersigned counsel, hereby agree and request the
25
     Change of Plea hearing currently set for Friday, March 19, 2010 at 9:00 a.m. to be
26
27   vacated and continued until Friday, April 16, 2010 at 9:00 a.m.
28




                                               1
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 1         A continuance is necessary to provide counsel with additional time for
 2   continued case preparation and for ongoing plea and sentencing negotiations.
 3
     Additionally defense counsel will be unavailable on March 12, 2010 due to the fact
 4
 5   that he will be attending a funeral.
 6
           The parties also stipulate that time should be excluded under the Speedy
 7
 8   Trial Act due to needs of counsel for continued case preparation and ongoing plea
 9
     and sentencing negotiations. Local Code T4 & 18 U.S.C § 3161 (h)(7)(B)(iv).
10
11         I, William E. Bonham, the filing party, have received authorization from
12   AUSA Mike Beckwith to sign and submit this stipulation and proposed order on
13
14
     his behalf and that defense counsel has authorization from his respective client.

15         Accordingly, the defense and the United States agree and stipulate that the
16
     Change of Plea hearing for defendant, Thomas Garcia, should be continued until
17
18   Friday, April 16, 2010 at 9:00 a.m. The parties stipulate that the ends of justice
19
     served by granting this continuance outweigh the best interests of the public and
20
21   defendant in a Speedy Trial. 18 U.S.C. § 3161(h)(7)(A).
22
     Dated: March 17, 2010
23
24                                                  BENJAMIN B. WAGNER
                                                    United States Attorney
25
26                                                  By:/s/ WILLIAM E. BONHAM for
                                                    MIKE BECKWITH
27
                                                    Assistant U.S. Attorney
28




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             Case 2:08-cr-00392-GEB Document 265 Filed 03/19/10 Page 3 of 3



 1   Dated: March 17, 2010
 2                                                  By:/s/ WILLIAM E. BONHAM for
 3                                                  WILLIAM E. BONHAM
                                                    Counsel for Defendant
 4
                                                    THOMAS GARCIA
 5
 6
 7                                         ORDER
 8
           IT IS SO ORDERED THAT THE Change of Plea hearing for defendant,
 9
10   Thomas Garcia, currently set for March 19, 2010 at 9:00 a.m. should be vacated
11
     and continued to April 16, 2010 at 9:00 a.m.
12
13         I find that the continuance is necessary due to defense counsels
14
     unavailability, the needs of counsel for continued case preparation and
15
16   plea/sentencing negotiations. Accordingly, time is excluded under the Speedy
17
     Trial Act, due to needs of counsel for additional case preparation and ongoing plea/
18
19
     sentencing negotiations, from March 19, 2010 up to and including April 16, 2010

20   pursuant to Local Code T4 and 18 U.S.C. § 3161(h)(7)(B)(iv). I find that the ends
21
     of justice served by granting this continuance outweigh the best interest of the
22
23   public and defendant in a speedy trial. 18 U.S.C. § 3161(h) (7)(A).
24
     Dated: March 18, 2010
25
                                          GARLAND E. BURRELL, JR.
26                                        United States District Judge
27
28




                                               3
